Case: 1:10-cv-01168 Document #: 1315 Filed: 05/18/18 Page 1 of 9 PageID #:44366

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   1                    IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
   2                              EASTERN DIVISION
   3
   4     NATHSON E. FIELDS,                             )   Docket No. 10 C 1168
                                                        )
   5                                  Plaintiff,        )
                                                        )
   6                    vs.                             )
                                                        )
   7     CITY OF CHICAGO, et al.,                       )   Chicago, Illinois
                                                        )   April 11, 2018
   8                                  Defendants.       )   9:30 o'clock a.m.
   9
                         TRANSCRIPT OF PROCEEDINGS - MOTION
  10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
  11
        APPEARANCES:
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  13
        For the Plaintiff:          LAW OFFICE OF H. CANDACE GORMAN
  14                                BY: MS. H. CANDACE GORMAN
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  16
  17                                LOEVY & LOEVY
                                    BY: MR. JONATHAN I. LOEVY
  18                                     MR. STEVEN EDWARDS ART
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  20
  21
  22
  23    Court Reporter:             MS. CAROLYN R. COX, CSR, RPR, CRR, FCRR
                                    Official Court Reporter
  24                                219 S. Dearborn Street, Suite 2102
                                    Chicago, Illinois 60604
  25                                (312) 435-5639
Case: 1:10-cv-01168 Document #: 1315 Filed: 05/18/18 Page 2 of 9 PageID #:44367

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   1    APPEARANCES CONTINUED:
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Case: 1:10-cv-01168 Document #: 1315 Filed: 05/18/18 Page 3 of 9 PageID #:44368

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   1       (The following proceedings were had in open court:)
   2               THE CLERK: Case No. 10 C 1168, Fields v. City of
   3    Chicago.
   4               MR. LOEVY: Good morning, your Honor. Jon Loevy for
   5    the plaintiff.
   6               MR. ART: Steve Art for the plaintiff.
   7               MS. GORMAN: Candace Gorman for the plaintiff.
   8               MR. NOLAND: Good morning, your Honor. Daniel Noland
   9    on behalf of the City and Joel Murphy, and Jonathan Breyer,
  10    Assistant Corporation Counsel, working on the appeal.
  11               MS. KATZ: Good morning, your Honor. Rachel Katz on
  12    behalf of David O'Callahan.
  13               THE COURT: So a couple of questions. The material
  14    that was submitted to me for in camera inspection by Assistant
  15    U.S. Attorney Kuhn, which is K-u-h-n, did you guys get it?
  16               MR. NOLAND: Not contemporaneously, your Honor. We
  17    got what we submitted and filed under seal what is the Bates
  18    stamp file for his complete parole file, 1 through 371, was
  19    received by at least our office or us in May of 2015.
  20               THE COURT: So after I had ruled on whatever I was
  21    going to rule on.
  22               MR. NOLAND: Yes.
  23               THE COURT: And you guys weren't in the case at that
  24    point. Did you get the same thing?
  25               MS. GORMAN: I did, your Honor. It's not the same
Case: 1:10-cv-01168 Document #: 1315 Filed: 05/18/18 Page 4 of 9 PageID #:44369

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   1    thing that was submitted to you, though. Because it's got all
   2    the redacted pages -- I mean, it's got about 200 redacted
   3    pages.
   4               THE COURT: What's not the same as -- you lost me.
   5               MS. GORMAN: You received the whole file.
   6               THE COURT: No, I'm asking what you got. Is what you
   7    got the same as what Mr. Noland has submitted here?
   8               MS. GORMAN: Yes.
   9               THE COURT: Okay. That's not what I got. I have
  10    what I got. And honestly, my best explanation for what
  11    happened is that so much time passed between when I looked at
  12    it and when the case concluded that it just slipped between
  13    the cracks as to what I should do with it. I've got it. It's
  14    not the same as what you have, but I don't think you're
  15    entitled to it because it was submitted in camera, and so
  16    there was stuff that I saw -- so here's the pile. You can see
  17    it's bigger than your pile.
  18               I don't -- it would be difficult for me to go back
  19    and reconstruct exactly what -- you know, how I reached the
  20    decision that I did, but I've got what I have and it's not the
  21    same as this, and the way I know -- I don't think I ever got
  22    the document that you've submitted here. The thing that I
  23    have -- the Bates numbering is different, so the Bates
  24    numbering on yours, and I'm talking about not Tab 1, which is
  25    the blacked out stuff, and I do have a set of those numbered
Case: 1:10-cv-01168 Document #: 1315 Filed: 05/18/18 Page 5 of 9 PageID #:44370

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   1    the same way. That's USPC 1 through 48. Tab 2 of the motion
   2    to correct the record, your numbering says -- Bates stamp
   3    numbering is Hawkins complete parole file, page 1 through 371,
   4    and mine is numbered in a different way because it's a
   5    different thing. So it's -- so here's my copy of the 1
   6    through 40 whatever, the blacked out stuff, and here's my copy
   7    of the other stuff.
   8               And it had a bunch of tabs on it, and the reason for
   9    that is that they were -- so the Bates numbering is -- there's
  10    several different series. There's USPC file letters 1 through
  11    whatever, there's USPC letters files side 1, pages 1 through
  12    whatever, side 2, pages 1 through whatever, and side 3 and 4,
  13    pages 1 through whatever, and I also got some disks. I got
  14    some audio, and I believe that it was audio at the parole
  15    hearing.
  16               Now, the disks reflect that there is a redacted and
  17    an unredacted, and I don't know if you guys got those things
  18    or not. But it's probable that the reason I didn't file it at
  19    the time was I couldn't figure out a good way to do it and
  20    Mr. Kuhn had submitted this to me in hard copy. He wasn't a
  21    party to the case.
  22               I may be confusing this with another case. I have
  23    some vague recollection of maybe having an internal discussion
  24    about is there a way for a non-party to file something in
  25    CM/ECF in camera, we couldn't figure out that there was, and I
Case: 1:10-cv-01168 Document #: 1315 Filed: 05/18/18 Page 6 of 9 PageID #:44371

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   1    just decided to keep this and we'd figure it out later. Then,
   2    as I said, I forgot about it.
   3               But I think before I start putting on -- in any kind
   4    of a record -- so what I saw is different from what you have
   5    here. Now, maybe this is what you got. It would be difficult
   6    for me to verify that because I never got the copy of what you
   7    got. If you all agree that that's what you got, then you
   8    could say you agree that that's what you got, and that would
   9    solve part of it, but I don't know if anybody wants to raise
  10    an issue, although nobody did at the time, about what I let
  11    you get from the stuff that I reviewed. And before I go
  12    putting that stuff anywhere, because I was told at the time, I
  13    think, when Mr. Kuhn wanted to submit it, that these things
  14    are private, confidential, nobody can see them, we'll let you
  15    see them, we don't want to let anybody else see them, I need
  16    to get Mr. Kuhn in here to kind of help me through this.
  17               MS. GORMAN: Your Honor, we also filed a response
  18    last night.
  19               THE COURT: I read it.
  20               MS. GORMAN: Okay.
  21               THE COURT: So what are your thoughts?
  22               MR. NOLAND: Mr. Kuhn is retired. I'm sure he's
  23    around someplace. I think our thought initially would be that
  24    what the Court has should be submitted as part of the record.
  25               THE COURT: But you guys don't get to see that.
Case: 1:10-cv-01168 Document #: 1315 Filed: 05/18/18 Page 7 of 9 PageID #:44372

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   1    That's the whole point. It was submitted in camera, you guys
   2    got to see a redacted version, there were reasons for the
   3    redactions, and I assume it was stuff like identifying
   4    information or whatever. That's why it's in camera and not
   5    under seal. In camera means I see it, you didn't, and I
   6    decided what you got.
   7               So I am not going to give this to you until somebody
   8    from the government of the United States of America, and it's
   9    probably going to have to be somebody currently from the
  10    government of the United States of America, comes in and says
  11    sure, Judge, you can give this to these people.
  12               MR. NOLAND: We will reach out. Just so you know,
  13    the things that you were describing do seem awfully similar to
  14    what we received, side 1, side 2, side 3, and side 4.
  15               THE COURT: You know, I certainly acknowledge that
  16    when things get xeroxed, they can come out differently. I
  17    have a bigger pile than you do. You can see it there. My
  18    pile is at least, you know, a half an inch or an inch bigger
  19    than yours. And I think there's more than 371 pages. I can
  20    do some quick addition.
  21               Yeah, I've got at least 530 pages, so I have more
  22    than you do.
  23               MR. LOEVY: Your Honor, from the plaintiff's
  24    perspective, that is the threshold question, is trying to get
  25    our arms around what has been submitted to you. We obviously
Case: 1:10-cv-01168 Document #: 1315 Filed: 05/18/18 Page 8 of 9 PageID #:44373

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   1    have other reasons why either in whole or in part what they're
   2    trying to do is get new documents into the record that weren't
   3    part of the Court's consideration and try to make a collateral
   4    attack on the verdict.
   5               THE COURT: So first things first. Figure out a way
   6    to get Mr. Kuhn in here but also somebody who can speak -- if
   7    he is retired, I need somebody along with him that can speak
   8    authoritatively for the government.
   9               MR. NOLAND: We will reach out, and would you want to
  10    set a date?
  11               THE COURT: I would say, you know, maybe a few days.
  12    I have time next week. Why don't I set it over for a week, to
  13    the 18th.
  14               MR. NOLAND: Okay.
  15               THE COURT: And obviously I'm keeping everything in
  16    the meantime, your stuff and my stuff in two separate folders
  17    here.
  18               All right. See you next week.
  19               MR. LOEVY: Thank you, Judge.
  20               MS. GORMAN: Thank you, Judge.
  21               MR. NOLAND: Thank you, Judge.
  22       (Which were all the proceedings had in the above-entitled
  23    cause on the day and date aforesaid.)
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Case: 1:10-cv-01168 Document #: 1315 Filed: 05/18/18 Page 9 of 9 PageID #:44374

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   1      I certify that the foregoing is a correct transcript from
        the record of proceedings in the above-entitled matter.
   2
   3    Carolyn R. Cox                                 Date
        Official Court Reporter
   4    Northern District of Illinois
   5    /s/Carolyn R. Cox, CSR, RPR, CRR, FCRR
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